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 1
 2                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 3
                                 SOUTHERN DIVISION
 4
 5
     JOHN C. EASTMAN                            Case No. 8:22-cv-00099-DOC-DFM
 6
 7                  Plaintiff,

 8   vs.
 9   BENNIE G. THOMPSON, et al.,
10
                    Defendants.
11
12
13
                                  PLAINTIFF’S STATUS REPORT
14
15                Plaintiff hereby submits the following status report to the Court:

16    1. Plaintiff has now completed the privilege review ordered by this Court.
17
      2. The review began with 21,396 documents totaling 94,153 pages identified by
18
19         Chapman as meeting the Select Committee’s search terms.
20    3. With the agreement of the Select Committee, 11,437 documents, totaling 29,140
21
           pages, were culled from the production as mass mailings.
22
23    4. Of the remaining 9,959 documents and 65,013 pages, Dr. Eastman produced 6,035
24         documents totaling 25,319 pages, and then another 24 documents totaling 231
25
           pages in response to objections by Defendants.
26
27    5. In accord with his ethical obligations “[t]o maintain inviolate the confidence, and
28
           at every peril to himself … to preserve the secrets, of his … client,” Cal. Bus. &
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 1           Prof. Code § 6068(e)(1); see also D.C. Rules of Professional Conduct 1.6(a), Dr.
 2
             Eastman asserted various privileges over 3,907 documents totaling 40,656 pages,1
 3
 4           including attorney-client privilege and work product protection involving 65
 5
             different clients or potential clients.
 6
         6. Defendants made no objection to Dr. Eastman’s claims of privilege over 643
 7

 8           documents totaling 3,006 pages,2 but did object to every claim of attorney-client
 9
             privilege and work-product protection that Dr. Eastman asserted with respect to his
10
             representation of former President Trump and/or his campaign committee. Those
11
12           3,264 documents, totaling 37,650 pages, have therefore been submitted for in
13
             camera inspection pursuant to this Court’s order of January 26, 2022. Of those,
14
15
             111 documents generated between January 4 and 7, 2021, totaling 336 pages, have

16           already been considered in camera by this Court. Dr. Eastman has produced 101
17
             of those documents, totaling 315 pages, (plus another 4 documents/16 pages which
18
19           were duplicates) for which this Court sustained the Select Committee’s objections

20           to Dr. Eastman’s assertions of privilege, but this Court overruled the Selection
21
             Committee’s objections with respect to the remainder.
22
23       7. In sum, of the 21,396 documents / 94,153 pages identified by Chapman University

24           as response to the Select Committee’s subpoena (as amended by the Select
25
26
27   1
     6 documents, totaling 1,192 pages, were produced with privilege materials redacted, and hence both produced and listed on
   privilege logs.
28 2 There are two more days of privilege logs to which the Select Committee’s objections, if any, have not yet been submitted.
   These numbers include estimates for the final two days, based on the Committee’s prior objections.
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 1           Committee’s list of search terms), Dr. Eastman has produced or (at the Select
 2
             Committee’s request) culled 17,496 documents / 55,020 pages and asserted
 3
 4           privilege over an additional 643 documents / 3,006 pages to which the Select
 5
             Committee did not object. The Court has upheld privilege claims over 10
 6
             documents, totaling 21 pages. The Select Committee’s objections to Dr.
 7

 8           Eastman’s claims of privilege over the remaining 3,247 documents / 36,106 pages
 9
             remain pending.3
10
11
     April 18, 2022                                              Respectfully submitted,
12
13
14                                                               /s/Anthony T. Caso
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20                                                               /s/ Charles Burnham
                                                                 Charles Burnham (D.C. Bar # 1003464)
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24
25
26                                                               Counsel for Plaintiff

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     3
28    These numbers may be slightly off, due to some overlap between documents that met the Select Committee’s request to cull
     and those already produced.
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11                                  CERTIFICATE OF SERVICE
12      I hereby certify that a copy of this filing has been served on opposing counsel by email.
13
                                                             By: /s/ Charles Burnham
14                                                           Charles Burnham
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